                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       No. 3:11 CR 194–13
                                                     )       Hon. Marvin E. Aspen
STERLING RENEVA RIVERS,                              )
                                                     )
               Defendant.                            )
                                                     )
STERLING R. RIVERS,                                  )
                                                     )
               Petitioner,                           )
       v.                                            )       No. 3:15 C 108
                                                     )       Hon. Marvin E. Aspen
UNITED STATES OF AMERICA,                            )
                                                     )
               Respondent.                           )

                         MEMORANDUM OPINION AND ORDER

MARVIN E. ASPEN, District Judge:

       Presently before us is Sterling Reneva Rivers’ pro se motion for reduction or

modification of his sentence pursuant to 18 U.S.C. § 3582(c)(2). (Mot. (Case No. 3:15 C 108

(“Civil Dkt.”) Dkt. No. 61).) Rivers argues his sentence should be reduced based on

Amendment 782 to the Federal Sentencing Guidelines, which generally lowers the base offense

level for drug offenses by two points. (Id. at 3–4.) The government opposes Rivers’ motion.

(Resp. (Civil Dkt. No. 65) at 3–6.) For the following reasons, after transferring Rivers’ motion

from his civil case (3:15 C 108) to his criminal case (3:11 CR 194–13), it is denied.

                                        BACKGROUND

I.     CONVICTION

       Rivers’ underlying criminal sentence was imposed after his conviction for various crimes

related to his participation in a drug trafficking conspiracy. (See Judgment,




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Case No. 3:11 CR 194–13 (“Crim. Dkt.”) Dkt. No. 1755.) Rivers was charged in 2011 in a

seventeen-defendant indictment for drug trafficking-related offenses occurring between 2008

and 2011 in Wilson, Putnam, and Davidson Counties in Tennessee. (Indictment (Crim. Dkt.

No. 3); see also Fourth Superseding Indictment (Crim. Dkt. No. 1065).) After a ten-day trial

in 2013, a jury convicted Rivers on seven counts, including conspiracy to distribute and possess

with intent to distribute crack cocaine and cocaine, possession of a firearm with an obliterated

serial number, sale of a firearm to a convicted felon, possession with intent to distribute crack

cocaine, distribution and possession with intent to distribute crack cocaine, and aiding and

abetting the distribution and possession with intent to distribute crack cocaine. (Judgment at 1;

Crim. Dkt. No. 1612.) 1

II.       SENTENCING AGREEMENT

          After Rivers’ trial and the completion of an initial presentence investigative report but

before sentencing, the government and Rivers negotiated a sentencing agreement. (See Civil

Dkt. No. 54 at 2.) The parties executed an Agreement Related to Sentencing and Waiver of

Rights (the “Agreement”) on January 16, 2014. (Agreement (Crim. Dkt. No. 1754 (filed under

seal).)

          A. Guidelines Calculation

          The Agreement incorporated and accepted the Probation Office’s Guideline computations

set forth in Rivers’ revised presentence report, which were based on the 2013 United States

Sentencing Guidelines. (Agreement ¶¶ 6–7.) Rivers admitted to being in possession of at




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 The jury found Rivers not guilty on four counts, and could not reach a verdict on one count,
which the government later dismissed. (Crim. Dkt. Nos. 1608, 1612, 1682; Judgment at 1.)

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least 8.4 kilograms of cocaine base, resulting in a base offense level of 38. (Id. ¶¶ 3–4, 7(b).) 2

The parties agreed to adopt Probation’s recommendation to add eleven points to Rivers’ base

offense level of 38 for various enhancing factors, including the possession of a firearm, the use

of violence or a credible threat of violence, the maintenance of the premises for manufacturing or

distributing a controlled substance, having an aggravating role in the offense, involving a minor

in the offense, and obstructing justice. (Id. ¶ 7(b)–(g).) The additional points resulted in a total

offense level of 49. (Id. ¶ 7(h).) Under § 5A Application Note 2 of the Guidelines, level 49 is

treated as level 43 for purposes of calculating the applicable Guidelines range.

U.S.S.G. § 5A n.2 (2013) (“An offense level of more than 43 is to be treated as an offense level

of 43.”) The Agreement concludes: “[b]ased on an offense level of forty-three and a Criminal

History Category of III, the guideline range is life imprisonment.” (Agreement ¶ 7(j).)

         B. Sentencing Agreement Terms

         Notwithstanding the Guidelines calculation, the Agreement provides that it was the intent

of the parties to treat it in the same manner as an agreement under Federal Rule of Criminal

Procedure 11(c)(1)(C), “[t]hat is, the parties have agreed, giving consideration to the facts and

circumstances of the case and the factors set forth in 18 U.S.C. § 3553(a), that the sentence

imposed by the Court shall include a term of imprisonment of 336 months (28 years) in the

custody of the Bureau of Prisons.” (Id. ¶ 8.) Rivers’ proposed sentence was therefore below his

Guideline range of life imprisonment.

         As is relevant to the pending motion, the Agreement contains a waiver of appellate rights

at Paragraph 12 stating:



2
 Rivers’ controlled substance offenses were grouped together with his other offenses pursuant to
U.S.S.G. § 3D1.3(a), and the controlled substance Guideline controlled because it produced the
highest offense level. (Agreement ¶ 7(a).)

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       Pursuant to this agreement, and in exchange for the government’s sentencing
       recommendation contained herein, the defendant hereby waives all rights to appeal,
       except for those expressly maintained below. . . . Defendant also waives the right
       to challenge his conviction and the sentence imposed in any collateral attack,
       including, but not limited to, a motion brought pursuant to 28 U.S.C. § 2255 and/or
       § 2241, and/or 18 U.S.C. § 3582(c). However, no waiver of the right to appeal, or
       to challenge the adjudication of guilt or the sentence imposed in any collateral
       attack, shall apply to a claim of involuntariness, prosecutorial misconduct, or
       ineffective assistance of counsel.

(Id. ¶ 12.) At Rivers’ sentencing hearing on January 28, 2014, the Court adopted the Agreement

and sentenced Rivers to 336 months in custody, followed by five years of supervised release and

a $700.00 special assessment fee. (Dkt. Nos. 1753, 1755–56.)

III.   RIVERS’ 28 U.S.C. § 2255 MOTION

       On February 3, 2015, Rivers filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255. (Civil Dkt. No. 1.) Rivers’ § 2255 motion included two claims:

(1) that he allegedly received ineffective assistance of counsel because his attorney failed to file

a notice of appeal after Rivers instructed him to do so, and (2) that he entered into the Agreement

involuntarily based on his attorney’s deficient advice. (Id..) After an evidentiary hearing, we

found Rivers failed to establish that his attorney provided ineffective assistance or that he entered

the Agreement involuntarily, and accordingly denied the motion and did not issue a certificate of

appealability. (Civil Dkt. No. 54 at 24–26.) The Sixth Circuit denied Rivers’ application for a

certificate of appealability and dismissed his appeal on December 15, 2017. (Civil Dkt. No. 60.)

IV.    RIVERS’ 18 U.S.C. § 3582(c) MOTION

       On April 26, 2018, Rivers filed the pending motion for modification or reduction of his

sentence under 18 U.S.C. § 3582(c)(2). Rivers argues he qualifies for a lower sentence based on

the retroactive application of Amendment 782, which he argues would lower his Guideline

range. (Mot. at 3–5.) Rivers also claims he is eligible for a reduced sentence based on efforts to




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rehabilitate himself in prison and his good behavior. (Id. at 6–7.) The government opposes

Rivers’ motion, arguing in the Agreement Rivers waived his right to file s § 3582(c) motion.

(Resp. at 3, 5–6.) The government also claims that Rivers is ineligible for relief because even if

Amendment 782 lowered his base offense level by two points, it would not reduce his total

offense level or his resulting Guideline range. (Id. at 3–6.)

                                      LEGAL STANDARD

       “‘[A] judgment of conviction that includes [a sentence of imprisonment] constitutes a

final judgment’ and may not be modified by a district court except in limited circumstances.”

Dillon v. United States, 560 U.S. 817, 824, 130 S. Ct. 2683, 2690 (2010)

(citing 18 U.S.C. § 3582(b)). Section 3582(c)(2) provides one such exception to this finality,

allowing for a modification or reduction of a sentence when “a defendant . . . has been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(2); see Dillon, 560 U.S. at 826,

130 S. Ct. at 2691 (describing the Commission’s power to amend the Guidelines). If a

retroactive Guidelines amendment would result in a lower Guideline range for a defendant, after

the court considers relevant § 3553(a) factors, the court may reduce the defendant’s term of

imprisonment if a reduction is “consistent with applicable policy statements issued by the

Sentencing Commission” as enacted in United States Sentencing Guidelines § 1B1.10.

18 U.S.C. § 3582(c)(2). Finally, as a pro se litigant Rivers’ motion is “to be liberally construed.”

Erickson v. Pardus, 551 U.S. 89, 94, 127 S. Ct. 2197, 2200 (2007) (citing Estelle v. Gamble,

429 U.S. 97, 106, 97 S. Ct. 285, 292 (1976)).




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                                            ANALYSIS

       Rivers argues that he qualifies for a sentence modification or reduction under

§ 3582(c)(2) after Amendment 782’s two-point reduction of base offense levels for drug-related

crimes. As a preliminary matter, we discuss whether the pending motion was properly filed in

Rivers’ civil case. We then address whether Rivers has waived the right to challenge his

sentence and finally assess his eligibility for relief under § 3582(c)(2) and Amendment 782.

I.     TRANSFER OF RIVERS’ MOTION TO HIS CRIMINAL PROCEEDING

       Rivers filed the pending § 3582(c) motion in his civil case. Generally, a § 3582(c)

motion is considered “a criminal motion” and “a continuation of a criminal case” instead of a

civil matter. See United States v. Brown, 817 F.3d 486, 488–89 (6th Cir. 2016) (“‘Because [its]

purpose . . . is to ask the sentencing court to reduce a sentence in light of changes to the

Sentencing Guidelines,’ a § 3582(c) motion ‘is part of the defendant’s criminal proceeding.’”)

(citing United States v. Byfield, 522 F.3d 400, 402 (D.C. Cir. 2008) (per curiam)). Moreover,

“§ 3582(c) is found in Title 18 of the United States Code, which covers ‘Crimes and Criminal

Procedure.’” Brown, 817 F.3d at 488–89 (observing that nine circuits have agreed that

a § 3582(c) motion is a continuation of a criminal proceeding and listing cases). Accordingly,

we hereby transfer Rivers’ motion to his underlying criminal proceeding, and strike the motion

from his civil case.

II.    RIVERS’ WAIVER OF APPELLATE RIGHTS

       We now turn to whether Rivers waived his right to file a motion under § 3582(c). The

government urges Rivers waived his right to seek a sentence reduction under § 3582(c) in

exchange for benefits from the government, namely that the government would not prosecute

him for “several potential offenses.” (Resp. at 2, 6.) In the Agreement Rivers explicitly waived




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his right to challenge his sentence under 18 U.S.C. § 3582(c) except in instances of

“involuntariness, prosecutorial misconduct, or ineffective assistance of counsel.”

(Agreement ¶ 12 (providing “Defendant . . . waives the right to challenge his conviction and the

sentence imposed in any collateral attack, including, but not limited to, a motion brought

pursuant to . . . 18 U.S.C. § 3582(c)”).

         It is “well established” that a criminal defendant can waive any statutory or constitutional

right “in a plea agreement with the government so long as the defendant’s waiver is both

knowing and voluntary” unless the defendant alleges involuntariness, prosecutorial misconduct,

or ineffective assistance of counsel. 3 United States v. Fletcher, No. 3:11 CR 83–15,

2016 WL 850805, at *1 (M.D. Tenn. Feb. 29, 2016) (internal citations omitted). Specifically,

the Sixth Circuit has repeatedly found that a defendant may waive the right to challenge his or

her sentence under § 3582(c). United States v. Clardy, 877 F.3d 228, 231 (6th Cir. 2017)

(“[W]here a waiver provision in a valid plea agreement specifically forbids a defendant from

challenging his sentence under § 3582(c), he cannot challenge his sentence under § 3582(c).”);

United States v. Ellison, 664 F. App’x 507, 509 (6th Cir. 2016) (holding that the appeal waiver in

the defendant’s plea agreement barred a § 3582(c)(2) motion when the agreement explicitly

waived the right to appeal pursuant to § 3582(c)); United States v. Bryant, 663 F. App’x 420, 422

(6th Cir. 2016) (finding enforceable a clause in a plea agreement stating the defendant




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  While the instant Agreement is a sentencing agreement, “‘[t]here is little developed caselaw
specifically relating to sentencing agreements’ and their enforcement, so courts turn to caselaw
regarding plea agreements for guidance.” United States v. Ross, 245 F.3d 577, 582
(7th Cir. 2001) (citing United States v. Bradstreet, 207 F.3d 76, 80 n.2 (1st Cir. 2000)).
Additionally, the Agreement itself states at Paragraph 8: “Although this Agreement is not
governed by Federal Rule of Criminal Procedure 11(c)(1)(C), because the defendant was found
guilty after a trial by jury rather than by plea, it is the intent of the parties that the Agreement be
treated in a similar manner.” (Agreement ¶ 8.)

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“knowingly waives the right to challenge th[e] agreed sentence in any collateral attack,

including . . . a motion brought pursuant to . . . 18 U.S.C. § 3582(c).”).

       Rivers does not make any arguments related to involuntariness, prosecutorial misconduct,

or ineffective assistance in the pending motion. Furthermore, the record reflects that his waiver

was knowing and voluntary; in our § 2255 order, we previously rejected Rivers’ assertions that

he entered into the Agreement involuntarily and that he received ineffective assistance of

counsel. (Civil Dkt. No. 54 at 24–26.) Therefore, we agree with the government that Rivers

waived his right to file the pending § 3582(c) motion, and under the terms of the Agreement he is

barred from bringing the instant motion. See United States v. Sharp, No. 2:13 CR 34(06),

2016 WL 2354872, at *2 (E.D. Tenn. May 4, 2016) (enforcing defendant’s waiver of right to file

a § 3582(c) motion pursuant to a sentencing agreement entered into voluntarily).

III.    RIVERS’ INELIGIBILITY FOR RELIEF UNDER § 3582(c)

       Even if Rivers had not waived his right to file this motion, he would be ineligible for

relief under § 3582(c), as Amendment 782 changes neither his total offense level nor the

resulting Guideline range. In 2014, the United States Sentencing Commission enacted

Amendment 782, which generally reduced the base offense levels assigned to most drug

quantities in the then-existing § 2D1.1 drug quantity table by two points. United States v. Lucas,

636 F. App’x 296, 297–98 (6th Cir. 2016). Applied retroactively through Amendment 788, the

Commission passed Amendment 782 to reset the base offense levels to correspond with statutory

minimum penalties and to alleviate overcrowding in federal prisons. U.S.S.G. App. C,

Amendment 782, at 71–74 (2014) (estimating Amendment 782 would reduce the imprisonment

of drug trafficking offenders sentenced under § 2D1.1 by an average of eleven months).




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       Pursuant to Guidelines § 1B1.10(a)(2), a reduction in the defendant’s term of

imprisonment is not authorized under § 3582(c)(2) where the amendment “does not have the

effect of lowering the defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2) (2016);

see also United States v. Riley, 726 F.3d 756, 758 (6th Cir. 2013). “[A] defendant’s applicable

guideline range [is] ‘the range that applies before the sentencing court grants any discretionary

departures.’” United States v. Braden, 643 F. App’x 531, 533–34 (6th Cir. 2016) (citing United

States v. Pembrook, 609 F.3d 381, 387 (6th Cir. 2010)). “[T]he court shall substitute only

[enumerated amendments including Amendment 782] for the corresponding guideline provisions

that were applied when the defendant was sentenced and shall leave all other guideline

application decisions unaffected.” U.S.S.G. § 1B1.10(b)(1).

       We first determine whether Amendment 782 would have reduced Rivers’ Guideline

range based on the type and quantity of drugs in Rivers’ case. See U.S.S.G. § 1B1.10(b)(1)

(2016) (“In determining whether . . . a reduction in the defendant’s term of imprisonment under

18 U.S.C. § 3582(c)(2) and this policy statement is warranted, the court shall determine the

amended guideline range that would have been applicable to the defendant if the amendment[] to

the guidelines . . . had been in effect at the time the defendant was sentenced.”). At sentencing,

8.4 kilograms of cocaine base was attributed to Rivers, resulting in a base offense level of 38

under the 2013 Guidelines drug quantity table. (Agreement ¶¶ 3–4.) After the addition of eleven

points for various enhancements, Rivers’ total offense level was 49, which is treated as level 43.

(Id. ¶ 7); see U.S.S.G. § 5A n.2 (“An offense level of more than 43 is to be treated as an offense

level of 43.”). Considering Rivers’ Criminal History Category III, the resulting Guideline range

was life imprisonment. (Agreement ¶ 7.)




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       Here, the eleven points for aggravating factors result in a total offense level of 43 even

after applying Amendment 782. According to the current Guidelines as modified by

Amendment 782, based on the 8.4 kilograms of cocaine base involved in the offense, Rivers’

base offense level is 36, which is reduced two points from his base offense level under the 2013

Guidelines. U.S.S.G. § 2D1.1(c) (2016). However, the additional eleven points for enhancing

factors remain. Amendment 782 applies to the base offense level alone, and not to the “other

guideline application decisions.” See United States v. Quinn, 576 F.3d 292, 295 (6th Cir. 2009)

(clarifying U.S.S.G. § 1B1.10(b)(1) and Amendment 706 reduced only the base offense level for

crack-cocaine offenses, not the total offense level); see also Freeman v. United States,

564 U.S. 522, 531, 131 S. Ct. 2685, 2693 (2011) (“The binding policy statement

governing § 3582(c)(2) motions places considerable limits on district court discretion. All

Guidelines decisions from the original sentencing remain in place, save the sentencing range that

was altered by retroactive amendment.”) (citing U.S.S.G. § 1B1.10(b)(1)). As the government

contends, once the eleven points for sentencing enhancements are added to base offense level 36,

Rivers’ total offense level would be 47, which is treated as a total offense level of 43. United

States v. Parker, No. 3:02 CR 53, 2015 WL 13376771, at *2, n.1 (M.D. Tenn. Feb. 3, 2015)

(slip op.) (finding defendant did not qualify for a § 3582(c) sentence reduction because

enhancements meant defendant’s total offense level was above 43 before and after the

Amendment 782 two-point reduction). Under the 2016 Guidelines, a total offense level of 43 for

a defendant with a Criminal History Category III results in a Guideline range of life

imprisonment, the same range that was applied to Rivers at the time he was sentenced.

U.S.S.G. § 5A (2016). Therefore, Amendment 782 does not lower Rivers’ applicable Guideline




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range, and even if he had not waived his right to file a § 3582(c) motion, he is ineligible for relief

regardless of good behavior or rehabilitative efforts.

                                          CONCLUSION

       For the aforementioned reasons, after transferring Rivers’ motion to modify or reduce his

sentence from his civil case to the underlying criminal case, it is denied. It is so ordered.




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                                                         Marvin E. Aspen
                                                         United States District Judge

Dated: September 11, 2018
       Chicago, Illinois




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